 

 

STATE OF TENNESSEE
16th JUDICIAL DISTRICT

SUMMONS
CHANCERY COURT

CASE FILE NUMBER

 

PLAINTIFF DEFENDANT

ADVANTAGE WAYPOINT LLC VS. MICHAEL BAKER

 

TO: (NAME & ADDRESS OF DEFENDANT)

Michael Baker
2412 Delano Court
Murfreesboro, TN 37130

List each defendant on a separate summons.

 

YOU ARE HEREBY SUMMONED TO DEFEND A CIVIL ACTION FILED AGAINST
YOU IN CHANCERY COURT, RUTHERFORD COUNTY, TENNESSEE. YOUR
DEFENSE MUST BE MADE WITHIN THIRTY (30) DAYS FROM THE DATE THIS
SUMMONS IS SERVED UPON YOU. YOU ARE DIRECTED TO FILE YOUR
DEFENSE WITH THE CLERK OF THE COURT AND SEND A COPY TO THE
PLAINTIFF'S ATTORNEY AT THE ADDRESS LISTED BELOW. IF YOU FAIL TO
DEFEND THIS ACTION BY THE ABOVE DATE, JUDGMENT BY DEFAULT CAN BE
RENDERED AGAINST YOU FOR THE RELIEF SOUGHT IN THE COMPLAINT.

 

Attorney for plaintiff: ' DATE ISSUED & ATTESTED

William S. Rutchow

 

Ogletree, Deakins, Nash, Smoak & Stewart, P.C. JOHN A. W. BRATCHER, Clerk & Master
401 Commerce Street, Suite 1200 BY:

Nashville, TN 37219
William.Rutchow@ogletree.com
(615) 254-1900

 

Deputy Clerk & Master

 

NOTICE OF DISPOSITION DATE

 

To expedite cases, the Court may take reasonable measures to purge the docket of
old cases where the cases have been dormant without cause shown for an extended time.

 

CERTIFICATION

 

 

|, John A. W. Bratcher, Clerk and Master of the Chancery Court of Rutherford County,
Tennessee, do certify this to be a true and correct copy of the original summons issued in
this cause. JOHN A. W. BRATCHER, CLERK AND MASTER.

BY: DEPUTY C & M

 

TO THE SHERIFF: DATE RECEIVED

Please execute this summons and make your return

 

within thirty days of issuance as provided by law,

 

Submit three copies: service copy, defendant's copy, file copy.

Case. 3:17-cv-01053 Document 1-1

Sheriff

 

ADA COORDINATOR {615-494-4480

EXHIBIT
Filed 07/18/17 Page 1 of 25 P qiD #5

  

 

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RETURN ON PERSONAL SERVICE OF SUMMONS
| hereby certify and return that | served this summons together with the complaint as follows:

DATE OF PERSONAL SERVICE" .

 

Sheriff
By:

 

 

ACCEPTANCE OF SERVICE

| do hereby accept service of process and a copy of this complaint in this cause for all
purposes. This the day of © 200

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL

 

 

 

 

Ihereby certify and return that on the day of ,20____, lsent, postage prepaid

by registered return receipt mail or certified return receipt mail, a certified copy of the summons anda

copy of the complaint in case # -. to the defendant , on the

day of “=< 90 - _. | received the retum tedaipt, which has been signed

| by — on the day of ,20____. The return
| receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.
Sworn to and subscribed before me on this Signature of plaintiff, plaintiff's attorney or other person

day of . '20 us authorized by statute to serve process.

Signature of O Notary Public or 0. Deputy Clerk

 

 

My Cammission Expires:

NOTICE OF PERSONAL
PROPERTY EXEMPTION

TO THE DEFENDANT(S):

Tennessee law provides a four thousand dollar ($4,000.00)
debtor's equity interest personal property exemption from
execution or seizure to satisfy judgement. If ajudgment should be
entered against you in this action and you wish to claim property

 

as exempt, you must file a written list, under oath, of the items ATTACH

you wish to claim as exempt with the clerk of the court. The list RETURN

may be filed at any time and may be changed by you thereafter RECEIPT

as necessary; however, unless it is filed before the judgment HERE
becomes final, it will not be effective as to any execution or

garnishment Issued priorto the filing of the list. Certain iterns are (IF APPLICABLE)

automatically exempt by jaw and do not need to be listed; these
include items of necessary wearing appare | (clothing) for yourself
and your family and trunks or other receptacles necessary to
contain such apparel, family portraits, the family Bible, and school
books. Should any of these items be seized you would have the
right to recover them. If you do not understand your exemption

tight or how to exercise it, you may wish to seek the counsel of
a lawyer.

Mail list to: Clerk & Master
Room 302, Judicial Building
20 Public Square North
Murfreesboro, TN 37130

 

Please state file number on
list.

 

 

 

 

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IN THE CHANCERY COURT OF RUTHERFORD COUNTY, TENNESSEE

FOR THE SIXTEENTH JUDICIAL DISTRICT AT MURFREESBORO

ADVANTAGE WAYPOINT LLC, )
Plaintiff,
V. Civil Action No.
MICHAEL BAKER,
Defendant.
VERIFIED COMPLAINT

 

Plaintiff Advantage Waypoint LLC (“Advantage Waypoint” or the “Company”), by and
through its undersigned counsel, hereby brings the following Verified Complaint pursuant to
Tennessee Rule of Civil Procedure 65.03 for injunctive relief and damages against Defendant
Michael Baker (“Baker”) based upon Baker’s breach of his contractual obligations to Advantage
Waypoint. In support of this Complaint, Advantage Waypoint avers as follows:

INTRODUCTION

1, Michael Baker was Advantage Waypoint’s Vice President of Segment Sales for
more than three and a half years. In that time, Advantage Waypoint paid Baker a base salary of
$225,000 per year, plus other forms of compensation. In exchange for Baker’s word that he
would agree to certain post-employment restrictions, Advantage Waypoint not only paid him this
substantial compensation, but entrusted him with highly confidential information and access to
significant clients, including: Tyson Foods, Inc., Land O’Lakes, Inc., High Liner Foods, Inc.,
The J.M. Smucker Company, Smucker’s Dry, Smucker’s Frozen, The French’s Food Company

LLC, Ventura Foods LLC, Hershey Company, Barilla America Inc., Flowers Foods Specialty

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Group, Mars Food, Ajinomoto Windsor, Inc., Butterball LLC, Dr. Pepper Snapple Group, Inc.,
Nestle, Chobani LLC, and Super Bakery.

2. Despite Baker’s repeated promises to Advantage Waypoint that he would not
compete and/or solicit its clients, customers and employees for 18 months after his employment
might end, on July 5, 2017, Baker announced he would do precisely what he promised he would
not: Baker quit suddenly and without any notice on a company holiday, saying he was joining
The Core Group (“Core”). Core is a direct competitor of Advantage Waypoint. Baker was
reminded of his contractual obligations on July 5, 2017 and he acknowledged that he was aware
of them. Nevertheless, he proceeded to violate those contractual obligations, knowingly and
immediately.

3. Just days later, Baker appeared at a trade show in Atlanta, Georgia, one that he
was originally scheduled to attend on behalf of Advantage Waypoint. Baker, having now
switched companies, instead attended and, on information and belief, solicited clients on behalf
of Core. Advantage Waypoint is informed and believes that Baker actively solicited Advantage
Waypoint clients about whom he had confidential information which he acquired from his
employment with the Company. On information and belief, Core also told Advantage
Waypoint’s clients that Baker would be leading Core’s “new” segment sales strategy.

4, Further, on information and belief, Baker violated the noncompetition agreement,
and his duty of loyalty, by engaging in strategy discussions with Core and providing Core with
confidential information, even prior to his abrupt resignation.

5, Advantage Waypoint is a foodservice sales and marketing agency that acts on
behalf of large food production companies (clients) to market and sell their products to food

service providers, such as restaurants, hotels, schools, and hospitals (customers). Advantage

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Waypoint differentiates itself from its competitors by, among other things, utilizing a “segment
model” whereby its sales employees specifically target certain business segments such as
primary schools, midsize restaurant chains, and hospital groups. Further, Advantage Waypoint
optimizes its sales and marketing efforts by relying upon proprietary analyses of market demand
and trends using sophisticated data mining and analytic techniques.

6. Baker worked for Advantage Waypoint for more than five years. For more than
three and a half years, he held the position of Vice President of Segment Sales. Baker’s
geographic area of responsibility as Vice President of Segment Sales encompassed the entire
United States. He directly supervised eight (8) individuals and indirectly supervised, in his
division, approximately 150 employees. As Vice President of Segment Sales, Baker had direct
access to Advantage Waypoint’s confidential and proprietary information and trade secrets,
including but not limited to: (1) lists of its clients and customers, including the decision makers
at those entities; (2) clients’ confidential information regarding their products; (3) marketing
strategies with respect to current and prospective “pipeline” clients; (4) strategies for selling the
clients’ products to customers, including plans to increase its market share using the segment
model; (5) confidential contract pricing information that is individually negotiated with clients;
(6) data analytics regarding market demand and trends; and (7) information regarding Advantage
Waypoint’s employees, including compensation and performance. Baker had ongoing direct
communications with the President of Advantage Waypoint and other top-level executives
regarding the Company’s sales and marketing strategies.

7. Because Baker would have access to such important, confidential and proprietary
information, as a condition of his promotion to Vice President, on January 3, 2014, Baker signed

an Employee Restrictions and Proprietary Information Agreement (hereinafter the “2014

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Agreement”), A true and correct copy of the 2014 Agreement is attached hereto as Exhibit 1.
Baker agreed that during his employment with Advantage Waypoint, and for 18 months
following its termination, he would not, inter alia: (1) unfairly compete with Advantage
Waypoint by performing the Business! of Advantage Waypoint for a competitor within the
United States; (2) solicit any client, customer or supplier of Advantage Waypoint to reduce or
refrain from doing business with Advantage Waypoint, or damage Advantage Waypoint’s
relationship with its clients, customer or suppliers; (3) solicit Advantage Waypoint’s employees,
consultants, independent contractors to leave Advantage Waypoint; or (4) use, misappropriate, or
disseminate Advantage Waypoint’s confidential information and trade secrets, or the confidential
information of its clients and customers. (See Exhibit 1 at §§ 2, 5, 6).

8. Immediately after walking out the doors of Advantage Waypoint, Baker violated
(and continues to violate) the noncompetition provisions of the Restrictive Covenant Agreements
by working for Core. Advantage Waypoint is informed and believes that Baker further violated
his nonsolicitation agreements — in a repeated and ongoing manner — by: (i) actively soliciting
Advantage Waypoint’s customers on behalf of Core; and (ii) using Advantage Waypoints
confidential information and trade secrets to assist Core in developing for it a segment sales
model that, while Baker was its Vice President of Segment Sales, Advantage Waypoint invested
considerable resources to develop and took reasonable steps to keep confidential.

9. Advantage Waypoint has therefore instituted the instant action to enjoin Baker’s

ongoing and blatant contractual violations and to recover damages.

 

! The term “Business” is defined in the 2014 Agreement as, “the food service brokerage business
and business of providing sales, marketing, merchandising, event promotions and demonstrating
services to manufacturers, suppliers, distributors, retailers, operators and producers of food and
consumer packaged goods.” (Exhibit 1 at § 1.)

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PARTIES

10. Advantage Waypoint is a Delaware limited liability company maintaining its
principal place of business in Tampa, Florida. Advantage Waypoint is authorized to do business
in Tennessee and transacts business in Tennessee.

11. Michael Baker is a resident and citizen of Rutherford County, Tennessee. While
a Vice President at Advantage Waypoint, Baker’s office was at his residence in Murfreesboro,
Tennessee. On information and belief, Baker continues to work out of his residence in
Murfreesboro, Tennessee on behalf of Core.

JURISDICTION AND VENUE

12. Jurisdiction and venue are proper in this Court pursuant to T.C.A. §§ 16-11-102, -
103, 20-2-222, -223, and 20-4-101, -104, inasmuch as Baker resides and transacts business in
this county. Baker’s employment with Advantage Waypoint was based out of his home in
Murfreesboro, Tennessee. In addition, Advantage Waypoint transacts business in Tennessee and
the causes of action arose in this county.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

Advantage Waypoint Contracts with Large Food Production Companies (Clients)
to Sell Their Products to Foodservice Providers (Customers).

13. Advantage Waypoint acts on behalf of its clients to market and sell their food
products to foodservice providers.

14. To distinguish its business from its competitors, among other things, Advantage
Waypoint: (1) utilizes a “segment model”, whereby its sales employees specifically target certain
assigned business segments such as K-12 primary schools, hospitals, or midsize restaurant
chains; and (2) optimizes its sales and marketing efforts by relying upon proprietary analyses of

market demand and trends using sophisticated data mining.

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15. To analyze market demand and trends, Advantage Waypoint developed and
utilizes a proprietary program known as Food JQ which provides significant value to Advantage
Waypoint by analyzing mined data to identify trends in food purchasing and specific
opportunities for its sales employees to sell additional products on behalf of clients based on
these trends. In his position of Vice President of Segment Sales, Baker was given full access to
these proprietary analyses, to which Advantage Waypoint restricts access and requires a
password to review.

16. Advantage Waypoint’s work involves the use of highly confidential business
information, including, but not limited to: (1) lists of its clients and customers, including the
decision makers at those entities; (2) clients’ confidential information regarding their products;
(3) marketing strategies with respect to current and prospective “pipeline” clients; (4) strategies
for selling the clients’ products to customers, including plans to increase its market share using
the segment model; (5) contract pricing information specific to each client; (6) data analytics
regarding market demand and trends; and (7) information regarding Advantage Waypoint’s
employees, including compensation and performance.

17. Advantage Waypoint takes reasonable and extensive efforts to maintain the
secrecy of its trade secret, confidential business, proprietary, and technical information
including, but not limited to, (a) restricting access to its databases, including through password
protection; (b) requiring its employees to enter into contracts to prevent disclosure of
confidential information; (c) requiring key employees to enter into contracts to prevent unfair
competition against Advantage Waypoint and its clients; (d) requiring confidentiality provisions

in contracts with customers, consultants, vendors, and other third parties; and (e) establishing

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other procedures and protocols, as necessary, to protect confidential business, trade secret,
proprietary, and technical information.

18. If one of Advantage Waypoint’s direct competitors, e.g., Core, had access to
Advantage Waypoint’s confidential information, Advantage Waypoint would immediately be at
a competitive disadvantage and at substantial risk of losing market share.

19. If one of Advantage Waypoint’s direct competitors, e.g., Core, had access to
Advantage Waypoint’s confidential information, many of Advantage Waypoint’s clients would
immediately be at a competitive disadvantage with respect to competitive clients of Core and at
substantial risk of losing market share.

Baker, One Of Advantage Waypoint’s Highest
Ranking Employees, Led, The Segment Sales Division.

20. On information and belief, Baker has a degree in Business from the University of
Missouri-Columbia, and approximately 20 years’ experience marketing and selling food
products.

21. Advantage Waypoint initially hired Baker in approximately April 2012 as
National Director of K-12 Programs (one of Advantage Waypoint’s most important segments).
In approximately January 2014, Baker was promoted to Vice President of Segment Sales, a
position he held for more than three and a half years before his sudden resignation. Baker
reported directly to Chuck Mascari, Advantage Waypoint’s Executive Vice President of
Foodservice Sales. Mascari in turn reports directly to Don Davis, President of Advantage
Waypoint. Baker maintained ongoing direct communications with Davis regarding the
Company’s sales and marketing strategies.

22. Baker directly supervised eight (8) individuals and indirectly supervised

approximately 150 individuals in his division. He was provided with information regarding

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these individuals’ compensation, skills and job performance. He is therefore uniquely positioned
to solicit those employees on behalf of Core, using that confidential information.

23. Baker had responsibility for marketing and selling clients’ products across the
country. Thus, while based in Tennessee, Baker’s responsibilities were national in scope, and
the confidential information to which he had access spanned clients and customers across the
country.

24. Advantage Waypoint invested in developing its relationships, through Baker, with
its clients and customers throughout the United States. In his role as Vice President of Segment
Sales, Baker frequently traveled around the country, and mostly but not exclusively in the
Southeastern United States, Just in the 16 months preceding his resignation, Baker travelled to
numerous States on behalf of Advantage Waypoint, including: Arkansas, Florida, Georgia,
Idaho, Illinois, Minnesota, New York, North Carolina, Ohio, South Carolina and Texas.

25. As Vice President of Segment Sales, Baker was intimately familiar with
Advantage Waypoint’s confidential and proprietary information and trade secrets. Among other
things, Advantage Waypoint provided Baker with specific and intimate knowledge regarding
Advantage Waypoint’s active negotiations with important clients, including those clients who
also contract with competitor Core. Such confidential information also includes contract pricing
specific to particular clients, which is highly sensitive given that Advantage Waypoint solicits
business by bidding against its competitors, including Core. In fact Baker was recently charged
with taking the lead on strategizing how to market Advantage Waypoint with respect to a large
national client, and engaged in high-level discussions with Davis regarding same. The chief
competitor for this business opportunity is Core. As a result, Baker had substantial knowledge of

Advantage Waypoint’s negotiations and sales strategy, the clients’ confidential information, and

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Advantage Waypoint’s pricing information, and upon information and belief, this is now being
used to directly compete against Advantage Waypoint.

Baker Promised Not To Compete, Solicit Customers or Solicit Employees
For a Reasonable Period of Time Following Termination of his Employment,

26. On January 3, 2014, concurrent with his promotion to Vice President, Baker
entered into the 2014 Agreement with Advantage Waypoint.

27. Among other things, the 2014 Agreement was specifically designed to protect
against: unfair competition; unlawful disclosure of valuable confidential information; unfair
solicitation of Advantage Waypoint’s actual and prospective clients; and unfair solicitation of
Advantage Waypoint’s current and former employees and consultants.

28. Section 5 of the 2014 Agreement states, in pertinent part:

Non-Compete. I agree that while employed by the Company and
for a period of 18 months following the termination of my
employment, I will not directly or indirectly, either for myself or
any other person or entity, conduct, operate, carry out or engage in,
or own any interest in, perform any services for, participate in or
be connected with any Person other than the Company that
conducts, operates, carries out or engages in, or receives any
economic benefit in connection with, any business that is or may
reasonably be considered to be competitive with the Business
(including any expansions or extensions thereof which have either

taken place prior to such termination or which were contemplated
at the time of termination), within the Geographic Area.

(Id.)

33, “Business” is defined in the 2014 Agreement as, “the food service brokerage
business and business of providing sales, marketing, merchandising, event promotions and
demonstrating services to manufacturers, suppliers, distributors, retailers, operators and
producers of food and consumer packaged goods.” (/d. at § 1.)

34. The “Geographic Area” is defined as the United States and Canada. (/d.)

35. Section 6 of Baker’s 2014 Agreement states, in pertinent part:

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Non-Solicitation, I agree that while employed by the Company
and for a period of 18 months following the termination of my
employment, I will not directly or indirectly, either for myself or
any other person or entity, do any of the following:

(a) Clients and Customers. I will not, within the
Geographic Area, (A) solicit or induce any client, customer or
supplier of the Company to reduce or refrain from doing any
business with the Company, (B) damage any relationship between
the Company and any of its clients, customers or suppliers (or any
Person in respect of which I am actually aware that the Company
has approached or has made significant plans to approach as a
prospective client, customer or supplier within 6 months prior
thereto) or (C) aid Persons involved in any such acts.

(b) Employees. I will not solicit, induce or attempt to
induce any individual who is or was an officer, employee, or
consultant of the Company to leave the Company, or in any way
interfere with the relationship between the Company and such
individual; provided, that this clause shall not apply to any
individual whose employment or engagement with the Company

has been terminated (either voluntarily or involuntarily) for a
period of one year or longer prior to such solicitation.

(d.)

36. Section 11(a) of the 2014 Agreement states that it is “governed by the laws of the
State of Delaware, without regard to any conflicts of law principles thereof that would call for
the application of the laws of any other jurisdiction.” Ud.)

37. The restrictive covenants contained in the 2014 Agreement are reasonably
necessary to protect Advantage Waypoint’s goodwill and legitimate business interests, including,
but not limited to, Advantage Waypoint’s confidential and proprietary business information not
publicly known, and Advantage Waypoint’s client, customer and employee relationships.

38. The restrictive covenants contained in the 2014 Agreement are reasonably limited
as to time, geography and scope.

39. Because Baker conducted business on behalf of Advantage Waypoint across the

United States, the geographic limit of the United States is reasonable. Specifically, Baker

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managed a large division of employees marketing and selling Advantage Waypoint’s clients’
products to customers across the country and Baker personally traveled throughout the country in
his role as Vice President of Segment Sales.

Core Directly Competes With Advantage Waypoint

40, Like Advantage Waypoint, Core is a sales and marketing agency that acts on
behalf of large food production companies to market and sell their products to food service
providers.

41. Advantage Waypoint and Core regularly compete for client contracts and market
share. Advantage Waypoint and Core are currently in direct competition with respect to
numerous major clients, representing millions of dollars in business. These clients include:
Tyson Foods, Inc., Red Gold, Inc., Eagle Family Food Group LLC, J&J Snack Foods
Corporation, Diamond Crystal Brands, Inc., Saputo Cheese USA, Inc., The French’s Food
Company LLC, C.H. Guenther and Son, Inc., Ventura Foods LLC, The J.M. Smucker Company,
Michael Foods, Inc., and Hershey Foods, Corp.

42. As Vice President of Segment Sales, Baker managed a large team of sales
employees throughout North America. Because of his high ranking position in the company, he
had access to confidential business and technical information, trade secrets, and proprietary
information of the highest order related to most, if not all, company segment sales, prospective
clients, and contract prices, as well as trade secret information belonging to Advantage
Waypoint, and its clients and consumers.

43. On information and belief, Core is attempting to implement a “segment model”
similar to that used by Advantage Waypoint in order to attempt to minimize Advantage

Waypoint’s competitive advantage. On information and belief, Core hired Baker, an Advantage

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Waypoint employee with extremely marketable, but highly confidential and proprietary,
knowledge about Advantage Waypoint’s business and sales strategies, clients, and data analytics,
in order to attempt to replicate Advantage Waypoint’s business strategies within Core. On
information and belief, Core has represented to Advantage Waypoint clients that Baker will now
lead its newly-created segment strategy.

Baker Resigned Without Notice and Proceeded to
Immediately and Blatantly Breach the Restrictive Covenants

44, Onoor about July 5, 2017, Baker informed Chuck Mascari, Jr., Advantage
Waypoint’s Executive Vice President of Foodservice Sales, that Baker was resigning without
notice to take a position with direct competitor Core.

45. Baker told Advantage Waypoint employees that he accepted the position at Core
because he would receive more compensation as well as equity in Core.

46. OnJuly 5, 2017, Baker was reminded expressly of his restrictive covenant
obligations. He expressly acknowledged that he was aware of them.

47. Notwithstanding the July 5, 2017 reminder of his contractual obligations, Baker
continues to conduct Business (as so defined) on behalf of direct competitor Core in direct and
flagrant breach of those restrictive covenants.

48. Days after he quit, Baker attended a trade show (from approximately July 9, 2017
to July 11, 2017) in Atlanta, Georgia, that he previously was scheduled to attend on behalf of
Advantage Waypoint. On information and belief, having joined Core, Baker attended on its
behalf, soliciting clients and customers for Core, including Advantage Waypoint’s clients and
customers.

49. On information and belief, Core plans to attempt to minimize Advantage

Waypoint’s competitive advantage by appropriating and copying its “‘sales segment” model. On

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information and belief, Core hired Baker to implement the segment model at Core. On
information and belief, at that Atlanta, Georgia conference, Core specifically represented to
Advantage Waypoint clients that Baker would be leading its “new” segment sales strategy.

50.  Baker’s continued employment with Core will result in immediate and irreparable
harm to Advantage Waypoint. At the time Baker resigned without notice from Advantage
Waypoint to take the position with direct competitor Core, he was privy to Advantage
Waypoint’s confidential business and technical information, trade secrets, and proprietary
information. As a Core employee, Baker can now (1) use this confidential and invaluable
information to solicit both Advantage Waypoints’ clients and customers, and (2) sell and market
products produced by Core’s clients which are competitive with Advantage Waypoints’ clients.
This will result in material detriment to Advantage Waypoint and its clients.

51. Baker’s violation of his Restrictive Covenants Agreements threatens to cause
Advantage Waypoint to lose tens of millions of dollars of potential contracts in the immediate
future, and the future monetary damage caused by the disclosure and use of Advantage
Waypoint’s confidential information to Core is incalculable.

52. Baker’s unlawful acts, in direct and knowing violation of the 2014 Agreement
have caused, and will continue to cause, immediate and irreparable damage to Advantage
Waypoint and its business.

CAUSES OF ACTION

Count One — Breach of Contract
53. Advantage Waypoint incorporates the allegations in Paragraphs 1 through 52
above by reference as though fully set forth herein.
54. In connection with his promotion to Vice President, Baker voluntarily executed

the 2014 Agreement, containing confidentiality, noncompetition, and nonsolicitation provisions.

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55. The 2014 Agreement is a written and valid contract supported by valuable
consideration, under both Delaware and Tennessee law.

56. Advantage Waypoint has performed all of its obligations under the 2014
Agreement, except any obligations whose performance was made impossible or otherwise
excused, and has satisfied all conditions prerequisite to bringing this claim.

57, The restrictive covenants contained in the 2014 Agreement are reasonable as to
scope, time and territory and serve Advantage Waypoint’s legitimate interests in safeguarding
against unfair competition, including, without limitation, protection of the trade secrets and
confidential information of itself and its clients, as well as to protect Advantage Waypoint’s
goodwill, and client and customer relationships.

58. The restrictive covenants contained in the 2014 Agreement are narrowly tailored
to protect Advantage Waypoint’s legitimate business interests and are consistent with applicable
public policy.

59. Baker resigned from Advantage Waypoint on July 5, 2017 and immediately began
employment with direct competitor Core.

60. _Baker’s employment with Core is in direct violation and breach of Section 5 of
the 2014 Agreement, which prohibits Baker from competing with Advantage Waypoint for a
period of 18 months following the termination of his employment with respect to Advantage
Waypoint’s Business, as so defined, in the United States. (See Exhibit 1, § 5).

61. Section 6(a) of the 2014 Agreement also prohibits Baker, for a period of 18
months following the termination of his employment, from (a) soliciting Advantage Waypoint’s
clients, customers or suppliers to reduce or refrain from doing any business with Advantage

Waypoint, (b) damaging any relationship between Advantage Waypoint and any of its clients,

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customers or suppliers, or any person in respect of which Baker is actually aware that Advantage
Waypoint has approached or has made significant plans to approach as a prospective client,
customer or supplier within six (6) months before his employment terminated. (Id., § 6(a))

62. On information and belief, Baker is actively soliciting Advantage Waypoint’s
clients and customers on behalf of competitor Core in direct violation of Section 6(a) of the 2014
Agreement, including, but not limited to, his attendance of the July 2017 industry trade show in
Atlanta, Georgia. Indeed, on information and belief, one of the primary reasons Core hired
Baker was to solicit Advantage Waypoint’s clients and customers.

63. Section 6(b) of the 2014 Agreement also prohibits Baker, for a period of 18
months following the termination of his employment, from soliciting, inducing, or attempting to
induce Advantage Waypoint employees to leave Advantage Waypoint.

64. Given Baker’s wanton disregard for his other restrictive covenants, there is a
substantial likelihood and risk that he will attempt to solicit Advantage Waypoint employees to
terminate their employment with Advantage Waypoint and to accept positions at Core.

65. The ongoing and threatened future acts of Baker have caused and will cause
Advantage Waypoint irreparable harm and/or damage in excess of the minimum jurisdictional
limits of the Court, by depriving Advantage Waypoint of the goodwill of its customers, trade
secrets and/or confidential proprietary information, and profits from clients who have become or
will become clients of Baker or his new employer, Core.

66. As a result, Advantage Waypoint has suffered and/or will continue to suffer
irreparable harm for which there is no legal remedy and/or damages in an amount that exceed the

jurisdictional limits of the Court.

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67. Accordingly, this Court should enter an order for specific performance directing
Baker to refrain from working for Core or another direct competitor of Advantage Waypoint, or
from soliciting Advantage Waypoint’s clients, prospective clients, customers, or employees for
eighteen (18) months from the date of the Court’s judgment in this matter and otherwise honor
his obligations in the 2014 Agreement.

68. In addition, Advantage Waypoint seeks compensation for all damages and losses
proximately caused by the breaches and wrongful conduct of Baker, in addition to attorneys’
fees, expenses, and costs, any other remedy available under the 2014 Agreement and Delaware
and Tennessee law, and any and all further relief this Court deems just and proper.

WHEREFORE, Advantage Waypoint prays for relief as follows:

a. That this Court take jurisdiction of the parties and subject matter hereof;

b. That judgment be entered for Advantage Waypoint and against Baker granting
preliminary and permanent relief, including an order enjoining Baker for the full duration of the
restrictive covenants in the 2014 Agreement from further conduct constituting breach of Baker’s

restrictive covenants, including the noncompetition and nonsolictation agreements;

C That the Court order Baker to return to Advantage Waypoint any of its trade
secrets or confidential information still in his possession as well as to produce for forensic
examination any electronic devices or accounts to which Baker has had access since he began
pursuing employment at The Core Group to determine if any of Advantage Waypoint’s trade
secrets or confidential information is located on such devices or in such accounts;

d. That judgment be entered for Advantage Waypoint and against Baker for any
profits or revenue, together with interest thereon, lost by Advantage Waypoint as a consequence

of Baker’s breach of the restrictive covenants contained in the 2014 Agreement;

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e. That Advantage Waypoint be awarded its attorneys’ fees and litigation costs and

have such other and further relief as the Court may deem just and proper,

Dated this 14th day of July, 2017.

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Respectfully submitted,

Mh

William S. Rutchow (BPR #017183)
OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.
SunTrust Plaza, Suite 1200

401 Commerce Street

Nashville, Tennessee 37219

(615) 254-1900

(615) 254-1908 (Facsimile)

ATTORNEYS FOR PLAINTIFF
ADVANTAGE WAYPOINT LLC

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STATE OF U\\vnou$ )
COUNTY OF “by vPase )

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itle

Name
to make this verification on behalf of Plaintiff. I have reviewed Plaintiffs Verified Complaint

and attest that the facts and allegations contained therein are true and accurate to my knowledge
based upon personal knowledge, or facts developed and provided to me by other agents of

Plaintiff, except as to those matters stated on information and belief, and as to those matters, I

Sworn to and subscribed before me on the (“3 day of =Viu | yaa]

believe them to be true.

Notary Public: sl Xo mn (sonrehs

My Commission Expires: 03/ Iy/dol 4

P “OFFICIAL SEAL”

| CHRISTINE M. GERICKE
SNOTARY PUBLIC, STATE OF ILLINOIS
¢MY COMMISSION EXPIRES 8/14/2019

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EMPLOYEE RESTRICTIONS AND PROPRIETARY INFORMATION AGREEMENT

In consideration of my employment by Advantage Waypoint LLC or any of its direct or indirect
subsidiaries, affiliated entities and divisions (collectively, the “Company”)', my eligibility to be
considered for future salary or wage increases, a promotion to a Vice President level role along with a
salary increase to which I would not otherwise have been entitled, I agrée to the terms set forth herein.
This Employee Restrictions and Proprietary Information Agreement (“Agreement”) shall be effective as
of the date of execution of this Agreement.

1. Employer. The Company is engaged in the food service brokerage business and business
of providing sales, marketing, merchandising, event promotions and demonsttating services to
manufacturers, suppliers, distributors, retailers, operators and producers of food and consumer packaged
goods (the “Business”). The Company is engaged in the Business throughout the United States and
Canada (the “Geographic Area”),

 

2. Maintain Confidential Information.
a. Company Information. I confitm and agree that at all times during my

employment with the Company and thereafter that | have held and shall continue to hold in strictest
confidence, and have not used and shall not use (except for the benefit of the Company in the
performance of my job duties), or have not disclosed and shall not disclose to any person, fitm or entity
without written authorization of the Company (except as provided by applicable law), any trade secrets
(as defined under applicable law), confidential knowledge, data, or other proprietary information relating
to products, processes, know-how, designs, formulas, developmental or experimental work, computer
programs, data bases, other original works of authorship, customer lists, business plans, financial
information, confidential personnel and other information related to employees of the Company, or other
subject matter pertaining to any business of the Company or to any of its employees, clients, customers or
other third parties (collectively, “Confidential Information”),

b. Former Employer Information. I agree that I have not and will not, during iny
employment with the Company, improperly use or disclose any confidential or proprietary iaformation of
my former or concurrent employers or companies, or any other person, and that J will not bring onto the
premises of the Company any unpublished documents or any property belonging to my former or
concurrent employers or companies, or any other person, unless consented to in writing by said
employers, companies, or other person.

C. Third Party Information, I recognize that the Company has received and in the
future will receive from third parties their confidential or proprietary information subject to a duty on the
Company’s part to maintain the confidentiality of such information and to use it only for certain limited
purposes. J agree that I owe the Company and such third parties, during the term of my employment and
thereafter, a duty to hold all such confidential and proprietary information in the strictest confidence and
not to disclose it to any person, firm, or corporation (except as necessary in carrying out my work for the
Company or such third party consistent with the Company’s agreement with such third party) without the
express written authorization of the Company.

3, Retaining and Assigning Inventions and Original Works.

a, Inventions and Original Works Retained by Me. 1] have listed in Section 14
hereof, descriptions of any and all inventions, original works of authorship, developments, improvements,
and trade secrets which were made by me prior to my employment with the Company, which belong to
me, which relate to the Company’s proposed business and products, and which are not assigned to the
Company.

b. Inventions and Original Works Assigned to the Company. T agree that I will
promptly make full written disclosure to the Company, will hold in trust for the sole right and benefit of

 

' Employment is only with one specific legal entity of the Company, and not with all of the Icgal entities thal constitute the Company; and any
references to the “Company” as an employer are intended to refer to the employing entity.

  

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the Company, and will assign to the Company all my right, title, and interest in and to any and all
inventions, original works of authorship, developments, improvements, or trade secrets which I may
solely or jointly conceive or develop or reduce to practice, or cause to be conceived or developed or
reduced to practice, during the period of time I am in the employment of the Company.

(i) Excluded Inyentions. I understand that statutes in certain states prohibit
employers and employees from entering into agreements requiring an employee to assign or offer to
assign to an employer any invention that an employee developed entirely on his/her own time without
using the employer’s equipment, supplies, facilities or trade secret information except for those inventions
that either: (A) relate at the time of conception or reduction to practice of the invention to the employer’s
business, or actual or demonstrably anticipated research or development of the employer; or (B) result
from any work performed by the employee for the employer.

qi) Unenforceable provisions; acknowledgement of notification. To the
extent any such state law applies to my employment with the Company, and to the extent a provision in
this Agreement purports to require me to assign an invention otherwise excluded by such state law, that
provision may be against public policy and, as result, unenforceable. I understand that the provisions of
this Agreement requiring assignment to the Company do not apply to any invention which qualifies fully
under the provisions of any such state laws.

(iii) Disclosure of Excluded Inventions. I will advise the Company promptly
in writing of any inventions, original works of authorship, developments, improvements, or trade secrets
that I believe are exempt from assignment to the Company based upon the application of the state laws
described above, and I will at that time provide to the Company in writing all evidence necessary to
substantiate that belief. I understand that the Company will keep in confidence and will not disclose to
third parties without my consent any confidential information disclosed in writing to the Company
relating to inventions that qualify fully under the provisions of such laws.

(iv) United States Inventions. The state law exclusions described above do
not apply to any patent or invention covered by a contract between the Company and the United States or
any of its agencies requiring full title to such patent or invention to be in the United States. I agree to
assign to the United States government, all my right, title, and interest in and to any and all inventions,
original works of authorship, developments, improvements, or trade secrets whenever such full title is
required to be in the United States by a contract between the Company and the United States or any of its
agencies.

CG. Works for Hire, I acknowledge that all original works of authorship which are
made by me (solely or jointly with others) within the scope of my employment and which are protectable
by copyright are “works made for hire,” as the term is defined in the United States Copyright Act,
meaning the Company will be the sole owner of the copyright of such works.

d. Maintenance of Records, | agree to keep and maintain adequate and current
written records of all inventions and original works of authorship made by me (solely or jointly with
others) during the term of my employment with the Company. The records will be in the form of notes,
sketches, drawings, and any other format that inay be specified by the Company. The records will be
available to and remain the sole property of the Company at all times.

e, Assistance in Obtaining Rights. I agree that my obligation to assist the Company
to obtain patents or copyrights covering inventions or works of authorship, respectively, assigned
hereunder to the Company shall continue beyond the termination of my employment, but the Company
shall compensate me at a reasonable rate for time actually spent by me at the Company's request on such
assistance. If the Company is unable because of my mental or physical incapacity or for any reason to
secure my signature to apply for or to pursue any application for any United States patents or copyrights
covering inventions or other rights assigned to the Company, as above, then I hereby irrevocably
designate and appoint the Company and its duly authorized officers and agents as my agent and attorney
in fact, to act for and on my behalf and stead and to execute and file any such applications and to do all
other lawfully permitted acts to further the prosecution and issuance of patents and copyrights with the
same legal force and effect as if executed by me. I hereby waive and quitclaim to the Company any and

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all claims of any nature whatsoever, which J now or may hereafter have for infringement of any patents or
copyrights resulting from any such application assigned hereunder to the Company.

4. Conflicting Employment. I agree that, during my employment with the Company, I will
not engage in any other ernployment, occupation, consulting, or other business activity directly related to
the business in which the Company is now involved or becomes involved during my employment, nor
will I engage in any other activities that conflict with my obligations to the Company. I also represent
that my employment with the Company will not conflict with or result in the breach of any agreement to
which I am a party or by which 1 may be bound (including without limitation any proprietary information,
non-disclosure, non-competition, non-solicitation, or other similar covenant or agreement),

5. Non-Compete, I agree that while employed by the Company and for a period of 18
months following the termination of my employment, | will not directly or indirectly, either for myself or
any other person or entity, conduct, operate, carry out or engage in, or own any interest in, perform any
services for, participate in or be connected with any Person other than the Company that conducts,
operates, carries out or engages in, or receives any economic benefit in connection with, any business that
is or may reasonably be considered to be competitive with the Business (including any expansions or
extensions thereof which have either taken place prior to such termination or which were contemplated at
the time of termination), within the Geographic Area. Notwithstanding the foregoing, nothing contained
in this Section 5 shall prohibit me or my affiliates from the passive collective ownership, in the aggregate,
of less than two percent (2%) of any class of stock listed on a national securities exchange.

6, Non-Solicitation. I agree that while employed by the Company and for a period of 18
months following the termination of my employment, | will not directly or indirectly, either for myself or
any other person or entity, do any of the following:

induce any client, customer or supplier of the Company to reduce or refrain from doing any business with
the Company, (B) damage any relationship between the Company and any of its clients, customers or
suppliers (or any Person in respect of which I am actually aware that the Company has approached or has
made significant plans to approach as a prospective client, customer or supplier within 6 months prior
thereto) or (C) aid Persons involved in any such acts.

a. Clients and Customers. I will not, within the Geographic Area, (A) solicit or

b, Employees. 1 will not solicit, induce or attempt to induce any individual who is
or was an officer, employee, or consultant of the Company to leave the Company, or in any way interfere
with the relationship between the Company and such individual; provided, that this clause shall not apply
to any individual whose employment or engagement with the Company has been terminated (either
voluntarily or involuntarily) for a period of one year or longer prior to such solicitation.

7. Company Documents and Property. T agree that upon termination of employment or at
the request of the Company at any tinie, ] will deliver to the Company any and all devices, records, data,
notes, reports, proposals, lists, correspondence, specifications, drawings, blueprints, sketches, materials,
equipment, other documents or property, or copies of any aforementioned items belonging to the
Company, its successors, assigns, clients, or customers. I further agree that any property owned by the
Company, including computers, storage devices, telephones, desks, filing cabinets, or other storage or
work area is subject to inspection by Company personnel at any time, with or without notice.

8. No Employment Contract. I acknowledge that this Agreement does not constitute a
contract of employment for any specific period of time nor does it modify the at-will employment
relationship, meaning that either | or the Company can terminate any such employment relationship at any
time. I further acknowledge this Agreement does not constitute a guarantee of future salary or wage
increases.

 

9, Future Opportunities and Obligations. L acknowledge and agree that compliance with
this Agreement will not unduly burden or interfere with my ability to earn a living following any
termination of employment with the Company and that certain obligations of this Agreement continue
beyond any employment with the Company.

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10, Remedies. | understand that my breach of any covenant of this Agreement may lead to
immediate termination of my employment. Termination of my employment for any reason shall not limit
any remedy available to the Company, at law or in equity, which shall include, without limitation, the
right to obtain damages and to obtain injunctive or other equitable relief to restrain any breach or
threatened breach or otherwise to specifically enforce the provisions of this Agreement without the
necessity of posting a bond, it being agreed that money damages alone would be an inadequate remedy
for such breach. The rights and remedies of the parties to this Agreement are cumulative and not
alternative.

11, General Provisions.
a. Governing Law. This Agreement will be governed by the laws of the State of

Delaware, without regard to any conflicts of laws principles thereof that would call for the application of
the laws of any other jurisdiction.

b. Entire Agreement. This Agreement sets forth the entire agreement and
understanding between the Company and me relating to the subject matter herein and supersedes all prior
discussions between us; provided, however, that any previously or concurrently executed agreement
between the Company and me which lawfully restricts my use or disclosure of any Confidential
Information or my ability to compete against the Company or to solicit clients, customers, or employees
of the Company, and which is deemed to provide greater protection to the Company shall continue to be
binding and shall control over obligations in this Agreement deemed to be less protective to the
Company. No modification of or amendment to this Agreement, or any waiver of any rights under this
Agreement will be effective unless in writing signed by the party to be charged. Any subsequent change
or changes in my duties, salary, or compensation will not affect the validity or scope of this Agreement,

C. Severability; Blue Pencil, If any provision of this Agreement or portion thereof
is determined by a court of competent jurisdiction to be invalid, illegal or otherwise unenforceable, then
such provision will be severed and if possible replaced with a similar provision which conforms with
applicable law and embodies as closely as possible the original intent of the parties, and in any event the
remainder of this Agreement will remain in full force and effect according to its terms. To the extent a
court should reduce the scope, duration, and/or area of any term or provision in Sections 2 through 6 to a
permissible scope, duration, or size; the applicable restricted period shall be the longest period, the
geographic area covered shall comprise the largest territory, and the scope shall be as broad as possible as
permitted by law under the circumstances.

d. . Successors and Assigns. This Agreement will be binding upon my heirs,
executors, administrators, and other legal representatives and will be for the benefit of the Company, its
successors and its assigns.

e. Survival. The provisions of this Agreement shall survive the termination of my
employment (except as otherwise stated) and the assignment of this Agreement by the Company to any
successor in interest or other assignee and I will not assign my rights or delegate my duties or obligations
hereunder without the prior wrillen consent of the Company.

f. Advice of Counsel. I have had had the opportunity to consult with an attorney of
my own choosing before signing this Agreement, if I elect to do so.

12. Other Apreements. The restrictive covenants contained in this Agreement shall be in
addition to, and not in lieu of, and shall not in any way limit the enforceability of, any restrictive covenant
covering similar subject matter contained in any other agreement between the parties to which I am a
party or otherwise bound,

13. Delivery by Electronic Delivery; Facsimile or Email. This Agreement, and any
amendments hereto, to the extent signed and delivered by means of an electronic delivery system,
facsimile machine or email with scan or facsimile attachment, shall be treated in all manner and respects
as an original agreement or instrument and shall be considered to have the same binding legal effect as if
it were the original signed version thereof delivered in person. At the request of any party hereto, each

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other party hereto shall re-execute original forms thereof and deliver them to all other parties. No party
hereto shall raise the use of an electronic delivery system, facsimile machine or email to deliver a
signature or the fact that any signature or agreement or instrument was transmitted or communicated
through the use of an electronic delivery system, facsimile machine or email as a defense to the formation
or enforceability of a contract, and each such party forever waives any such defense.

14, List of Inventions, Pursuant to Section 3(a) of this Agreement, below is a list of my prior
inventions and original works of authorship. (If disclosure of such inventions and original works of
authorship would cause me to violate any prior confidentiality agreement, I understand I should not
disclose any confidential information and should only disclose a brief name for the invention, the parties

to whom it belongs, and the existence of the confidentiality obligations.) Check here if additional sheets
are attached:

Title Date Brief Description

In the event, as a result of my work for the Company, the Company would infringe any
intellectual property right of mine listed in this Section 14, the Company shal! automatically have a
royalty free, nonexclusive license throughout the world including the right to grant and sublicense to the
extent necessary to permit the Company to use and to enjoy all the resulting product of such work of mine
to the fullest extent, unless, prior to initiating any such work, I obtain the waiver, in writing, of the
Company, by an officer of the Company, waiving the Company’s license in such instance.

IF NO PRIOR INVENTIONS OR WORKS OF AUTHORSHIP ARE LISTED IN THIS SECTION 14, |

HEREBY AFFIRM THAT THERE ARE NO SUCH INVENTIONS OR ORIGINAL WORKS OF
AUTHORSHIP.

‘ Myf M dy eed ole
Signature of Employee Printed Name of Employee

Date

ACCEPTED AND AGREED:

 

COMPANY:

ADVANTAGE WAYPOINT LLC

By: Title;
Dated:

 

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